                                 Exhibit 1: Table of Contents
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From:                              Dan Walsh
Sent:                              Thursday, January 11, 2024 11:48 AM
To:                                'Brother EL'
Cc:                                Cheri Brown; Jessica Kimball; Phillip Jackson
Subject:                           RE: [EXT]Re: Hesed-El v. Bryson et al _ Availability for Defendants' Depositions


Mr. Hesed-El:

Thank you for your email regarding the deposition dates for the defendants in the ongoing matter.

Regarding the deposition of Robin Bryson, I will review the dates you proposed and confer with my client to determine
her availability. I anticipate getting back to you by next week with a confirmed date.

As for the Rule 30(b)(6) deposition of Mission Hospital, I require more information from you before I can arrange that
deposition. Under Rule 30(b)(6), a corporate entity, such as Mission Hospital, must designate persons to testify on its
behalf. In order to determine who the designee is, we require a description “with reasonable particularity” of “the
matters for examination.” FRCP Rule 30(b)(6). In actual practice, this is often a list of topics, presented from one party to
the other. Sometimes the list includes overly broad or otherwise objectionable topics, and the parties will meet and
confer to iron out these wrinkles, after which the deposition is scheduled. As such, if you could please provide me a list
of 30(b)(6) topics, we can get started on the process of arranging a deposition of one or more Mission Hospital
corporate designees.

Additionally, I would like to schedule depositions for your expert witness, Dr. Leonard J. Weiss, and for Sheik S. Johns-El
and Sheik C. Barnes-Bey. Given the nature of the testimony expected from Dr. Weiss, I will need to conduct his
deposition in person. However, for Sheik S. Johns-El and Sheik C. Barnes-Bey, remote depositions via secure video
conferencing is acceptable. Additionally, given that you are out of the country, I am amenable to you participating in all
three depositions remotely, but you will have to bear whatever costs are incurred for your remote deposition
services. Could you please provide potential dates for these depositions, no later than February 10, 2023?

Your cooperation in these matters is greatly appreciated. I look forward to your prompt response to facilitate the
smooth progress of discovery.

Respectfully,
Dan Walsh

Daniel H. Walsh
Attorney | Roberts & Stevens, P.A.
City Centre Building | 301 College Street, Suite 400, Asheville, NC 28801
Office: 828-252-6600 | Direct: 828-210-6818
www.roberts-stevens.com




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Case 1:21-cv-00305-MR-WCM Document 177-1 Filed 04/05/24 Page 4 of 15
From:                           Brother EL <teamwork3@gmail.com>
Sent:                           Tuesday, February 6, 2024 7:32 PM
To:                             Dan Walsh
Cc:                             Cheri Brown; Jessica Kimball; Phillip Jackson
Subject:                        [EXT]Re: [EXT]Re: Update: Hesed-El v. Bryson, et al _ Dr. Weiss' Deposition



Mr. Walsh,

I spoke with Dr. Weiss's office about 30 minutes ago. Unfortunately, we must cancel this week's deposition as
Dr. Weiss is still in the hospital and it is not known when he will be discharged. I will keep you updated as new
information becomes available with the hopes that we will be able to reschedule his deposition soon. As for his
remaining disclosures under Rule 26, Dr. Weiss's office manager should be able to provide that document by
the end of the day tomorrow.

If you have any questions in the meantime, please let me know. Thank you.


Respectfully,


Brother T. Hesed-El
teamwork3@gmail.com
470-918-2585




                                                          1
             Case 1:21-cv-00305-MR-WCM Document 177-1 Filed 04/05/24 Page 5 of 15
From:                             Dan Walsh
Sent:                             Thursday, February 15, 2024 6:12 PM
To:                               'Brother EL'
Cc:                               Cheri Brown; Jessica Kimball; Phillip Jackson
Subject:                          RE: [EXT]Re: [EXT]Re: [EXT]Re: [EXT]Re: [EXT]Re: [EXT]Re: [EXT]Hesed-El v. Bryson, et al:
                                  Notice of Deposition and Follow-up on Rule 30(b)(6) Meet and Confer


Mr. Hesed-El,

We conducted a meet and confer today wherein the following communications were made:

    1) Deposition of Sheik Johns-El is preliminarily scheduled for Feb. 26 from 4 to 8 pm, but this requires confirmation
       from him.




    5) Dr. Weiss continues to be unavailable due to emergent medical concerns. In the event he cannot be a witness
       you may seek alternate experts, however, you understand that this would require motion practice. Alternatively,
       you are checking if next week is a possibility for the purposes of a deposition and will let me know asap due to
       the short timeframe involved.




Please let me know if there’s any information here which is incomplete or incorrect.

Thanks,
Dan Walsh


Daniel H. Walsh
Attorney | Roberts & Stevens, P.A.
City Centre Building | 301 College Street, Suite 400, Asheville, NC 28801
Office: 828-252-6600 | Direct: 828-210-6818
www.roberts-stevens.com




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                      IN THE UNITED STATES DISTRICT COURT

                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  ASHEVILLE DIVISION

                              CIVIL ACTION NO. 1:21-cv-305



TAQI EYR HHAMUL HESED EL, Oda
"Bro. T. Hesed-El",

                               Patient,
                                                        NOTICE OF VIDEOTAPED
         W                                                 DEPOSITION OF
                                                         DR. LEONARD WEISS
ROBIN BRYSON and Mission Hospital,
Inc.,

                               Defendants.


PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of Civil Procedure, the
defendants in the above-referenced matter intend to take the oral deposition of Plaintiff's Expert
Witness, Dr. Leonard Weiss, at Dr. Weiss's office located at 3006 Bee Cave Rd., Suite D208,
Austin, TX 78746. The deposition is scheduled to commence at 4:00 p.m. local time (5 p.m. eastern
time) on February 24, 2024, and continue/resume at 4:00 p.m. local time (5 p.m. eastern time) on
February 25, 2024. The deposition will be taken upon oral examination in accordance with Federal
Rules of Civil Procedure and may be videotaped. The deposition will be taken before a notary
public or some other officer duly authorized by law to take depositions. The oral examination and
possible videotaping will continue from day to day until its completion.
        This the 19th day of February, 2024,
                                                / s/ Phillip T. Jackson
                                                N.C. Bar No. 21134
                                                / s/ Daniel H. Walsh
                                                N.C. Bar No. 57543
                                                Attorneys for Mission Defendants
                                                ROBERTS & STEVENS, P.A.
                                                Post Office Box 7647
                                                Asheville, North Carolina 28802
                                                Telephone: (828) 252-6600
                                                piackson@roberts-stevens.com
                                                dwalshgroberts-stevens.com




R&S 3304751_1
    Case 1:21-cv-00305-MR-WCM Document 177-1 Filed 04/05/24 Page 7 of 15
                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true copy of the foregoing Notice of
Appearance was served upon the all parties in the above entitled by depositing a
copy, contained in a first-class postage-paid wrapper, into a depository under the
exclusive care and custody of the United States Postal Service, addressed as
follows:

       Bro. T. Hesed-El
       c/o Taqi El Agabey Mgmt.
       30 North Gould Street, Suite R
       Sheridan, WY 82801

This 19th day of February, 2024.
                                        ROBERTS & STEVENS, P.A.


                                        /s/ Daniel H. Walsh
                                        Daniel H. Walsh




R&S 3304751_1
    Case 1:21-cv-00305-MR-WCM Document 177-1 Filed 04/05/24 Page 8 of 15
                                                                              Bismillah – pg. 1 of 2


                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         Civil Action No. 1:21-cv-305-MR-WCM

BROTHER T. HESED-EL,                             )
                                                 )
               Plaintiff,                        )
                                                      DESIGNATION OF EXPERT WITNESS
v.                                               )
                                                       PURSUANT TO RULE 26(a)(2)(D)(ii)
                                                 )
ROBIN BRYSON, et al.,                            )
                                                 )
               Defendants.                       )
                                                 )


       COMES NOW, Plaintiff Brother T. Hesed-El (“Plaintiff”) pursuant to the notice of

designation email sent to Defendants’ counsel on February 18, 2024. As stated in the email,

Plaintiff has retained and designated Sheik S. Johns El as an expert witness that Plaintiff expects

to call at the trial of this matter. Sheik S. Johns El provided mental health counseling services to

Plaintiff from 2021 to 2023 and is an expert in the religion, culture, and remedies of the Moorish

Science Temple of America, as founded by Prophet Noble Drew Ali in 1913. Sheik S. Johns El

will provide a report pursuant to Rule 26(a)(2)(D)(ii) of the Federal Rules of Civil Procedure.



       Respectfully, this 12th day of Sha’ban in the year 1445 A.H.

                                                        __________________________________
                                                                Bro. T. Hesed-El, Plaintiff pro se
                                                        c/o TAQI EL AGABEY MANAGEMENT
                                                      30 N Gould St, Ste. R, Sheridan, WY 82801
                                                     Ph: (762) 333-2075 / teamwork3@gmail.com




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                                                                      Bismillah – pg. 2 of 2


                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that this DESIGNATION OF EXPERT WITNESS

PURSUANT TO RULE 26(a)(2)(D)(ii) was electronically served upon defendants’ counsel, by

attachment to an email, to ensure delivery to:


                           Robin Bryson and Mission Hospital Inc.
                                 ℅ Attorney Daniel H. Walsh
                                ROBERTS & STEVEN, P.A.
                                   Post Office Box 7647
                               Asheville, North Carolina 28802
                                 dwalsh@roberts-steven.com


February 22, 2024
                                                   __________________________________
                                                         Bro. T. Hesed-El, Plaintiff pro se




   Case 1:21-cv-00305-MR-WCM Document 177-1 Filed 04/05/24 Page 10 of 15
Dan Walsh

From:                          Brother EL <teamwork3@gmail.com>
Sent:                          Saturday, February 24, 2024 10:22 AM
To:                            Dan Walsh
Cc:                            Cheri Brown; Jessica Kimball; Phillip Jackson
Subject:                       [EXT]Dr. Weiss' Health Complications



Mr. Walsh,

I just received a text message from Dr. Weiss's personal assistant, Adrianne. Dr. Weiss is en route to the
emergency room. I called Adrianne and she informed me that Dr. Weiss cannot sit for his deposition today. It is
unknown whether he will be able to reschedule. I've requested documentation regarding his emergency room
visit and will provide you with a copy upon receipt.

I called you and left a voicemail regarding the above. Please call me back when you can. Thank you.


Respectfully,


Brother T. Hesed-El
teamwork3@gmail.com
470-918-2585




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                                   Sheik Johns El
                                 February 26, 2024

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· · · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE WESTERN DISTRICT OF NORTH CAROLINA
· · · · · · · · · · · · · ·ASHEVILLE DIVISION
· · · · · · · · · · · CIVIL ACTION NO. 1:21-cv-305

·

· · ·TAQI EYR HHAMUL HESED EL, a/k/a
· · ·"Bro. T. Hesed-El"
· · · · · · · · · · · · ·PATIENT,

· · ·v.

· · ·ROBIN BRYSON and Mission Hospital,
· · ·Inc.,
· · · · · · · · · · · · ·DEFENDANTS.

· · ·________________________________/

·

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·

· · · · · · · · · · ·DEPOSITION OF SHEIK JOHNS EL

· · · · · · · · · · · ·APPEARING REMOTELY FROM

· · · · · · · · · · LOS ANGELES COUNTY, CALIFORNIA

·

·

· · · · · · · · · · · · · FEBRUARY 26, 2024

· · · · · · · · · · · · · · · 4:00 P.M.

·

· · ·REPORTED BY:

· · ·VERONICA I. PEREZ

· · ·CSR

· · ·APPEARING REMOTELY FROM MECKLENBURG COUNTY, NORTH CAROLINA


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                                  Sheik Johns El
                                February 26, 2024

·1· ·questions, probably two or three at most.

·2· ·BY MR. WALSH:

·3· · · · Q.· ·First, just to confirm that I asked this, you never

·4· ·diagnosed Brother El with a mental illness; correct?

·5· · · · A.· ·Correct.

·6· · · · Q.· ·Second, you never discussed with Brother El anything

·7· ·that occurred between my clients, who I've previously identified

·8· ·and himself; correct?

·9· · · · A.· ·Correct.

10· · · · · · ·MR. WALSH:· No other questions.

11· · · · · · ·MR. HESED-EL:· Do I get a redirect?

12· · · · · · ·MR. WALSH:· Yeah.· You can --

13· · · · · · ·MR. HESED-EL:· Okay.

14· · · · · · ·MR. WALSH:· Redirect based on --

15· · · · · · ·MR. HESED-EL:· I have one redirect -- one redirect.

16· ·BY MR. HESED-EL:

17· · · · Q.· ·Sheik Johns El?

18· · · · A.· ·Yes.

19· · · · Q.· ·Do you recall at any time prior to this deposition

20· ·Brother T. Hesed-El emailing you a copy of a expert opinion or

21· ·from a doctor named Dr. Wise or any medical records for review?

22· · · · A.· ·Dr. Wise?· I have to -- I have to bring that back to

23· ·my memory.· There's been a lot.

24· · · · Q.· ·That's fine.· Well, you can supplement your answer

25· ·later.


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                                                                                 YVe r1f
                                    Sheik Johns El
                                  February 26, 2024

·1· ·STATE OF NORTH CAROLINA· ·)

·2· ·COUNTY OF MECKLENBURG· · ·)

·3

·4· · · · · · ·I, Veronica I. Perez, a Certified Shorthand Reporter,

·5· ·do hereby certify:

·6· · · · · · ·That prior to being examined, the witness in the

·7· ·forgoing proceedings was by my duly sworn to testify to the

·8· ·truth, the whole truth, and nothing but the truth;

·9· · · · · · ·That said proceedings were taken remotely before me at

10· ·the time and places therein set forth and were taken down by me

11· ·in shorthand and thereafter transcribed into typewriting under

12· ·my direction and supervision;

13· · · · · · ·I further certify that I am neither counsel for, nor

14· ·related to, any party to said proceedings, not in anywise

15· ·interested in the outcome thereof.

16· · · · · · ·In witness whereof, I have hereunto subscribed my

17· ·name.

18

19· ·Dated: February 26, 2024

20

21

22
· · ·___________________
23· ·Veronica I. Perez
· · ·CSR
24

25


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From:                          Brother EL <teamwork3@gmail.com>
Sent:                          Tuesday, February 27, 2024 7:34 PM
To:                            Dan Walsh
Cc:                            Jessica Kimball; Phillip Jackson; Cheri Brown
Subject:                       [EXT]Designation of Expert Witness _ Ryan Kaufman, M.D.
Attachments:                   2024.02.27 Designation of Expert Witness Ryan Kaufman, MD.pdf



Mr. Walsh,

Please find the attached designation of Dr. Kaufman as an expert witness. Thanks.


Respectfully,


Brother T. Hesed-El
teamwork3@gmail.com
470-918-2585




                                                       1
          Case 1:21-cv-00305-MR-WCM Document 177-1 Filed 04/05/24 Page 15 of 15
